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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

        ALL-TAG CORP.,                                 )
                                                       )
                       Plaintiff,                      )
                                                       ) Case No. 17 CV 81261-WPD
               v.                                      )
                                                       ) Judge William P. Dimitrouleas
        CHECKPOINT SYSTEMS, INC.,                      ) Magistrate Judge William Matthewman
                                                       )
                       Defendant.                      )


        ALL-TAG’S REPLY TO CHECKPOINT’S OPPOSITION TO ALL-TAG’S MOTION
             TO COMPEL MORE COMPLETE ANSWERS TO ITS THIRD SET OF
       INTERROGATORIES AND DOCUMENTS RESPONSIVE TO ITS THIRD REQUEST
                         FOR PRODUCTION OF DOCUMENTS

   I.        INTRODUCTION

             Checkpoint’s Opposition is simply another example of its attempts to run out the clock on
   discovery and avoid having to provide discovery as required under the Federal Rules. All-Tag’s
   RFP and Interrogatories are reasonable requests that Checkpoint simply doesn’t want to have to
   answer. This Court should require Checkpoint to answer them.
   II.       ALL-TAG’S DOCUMENT REQUEST IS RELEVANT AND NOT IMMUNE TO
             DISCOVERY

             Checkpoint vehemently objects to producing any responsive documents relating to its
   conduct in the wake of the Patent Suit1 (and the resulting Garnishment Action in this Court2) on
   the bases that (1) the topics are “completely unrelated” because “All-Tag’s pleadings do not cite
   the collection proceeding,” and (2) Checkpoint’s actions are protected by the Noerr-Pennington
   doctrine. See Checkpoint’s Opposition to All-Tag’s Motion to Compel, D.E. 208, at 1.
   Checkpoint is flat wrong on both points. The standard for discovery (discussed in All-Tag’s
   opening Motion) is not restricted to conduct that occurs before a complaint is filed, and the




   1
       Checkpoint Systems v. All-Tag Security, et al., Case No. 2:01-cv-02223-PBT (E.D. Pa.).
   2
       Checkpoint Systems, Inc. v. All-Tag, Corp., 9:19-mc-80714-Altman-Hunt, (S.D. Fla.)


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   Noerr-Pennington doctrine does not give Checkpoint blanket immunity to make serious
   misrepresentations to this Court as a means to freeze a competitor’s assets.
            First, the Patent Action is related to this case, as it reveals tactics Checkpoint’s years-
   long campaign of anti-competitive conduct against its competitors. The District Court Judge
   who presided over Checkpoint’s failed litigation certainly thought so:

                 •      “This case ‘stands out from others’ in that Checkpoint brought suit in bad
                       faith with the improper motive of crippling Defendants’ business.”
                       Checkpoint Sys. v. All-Tag Sec. S.A., No. 01-2223, 2015 U.S. Dist. LEXIS
                       109284, at *8 (E.D. Pa. Aug. 18, 2015).

                 •     “The Court finds that this evidence compellingly demonstrates how
                       Checkpoint's motive in bringing suit was not to assert its patent rights, but
                       to interfere improperly with Defendants’ business and to protect its own
                       competitive advantage.” Id. at *9.

            Furthermore, Checkpoint’s own discovery tactics—in this Case and the Garnishment
   Action—demonstrate that the Garnishment Action is far from being “completely unrelated.” It
   was in the first deposition in this Case that Checkpoint’s counsel questioned All-Tag’s president
   about the patent case judgment during his April 2019 deposition. Counsel for Checkpoint
   either regarded the cases as related, or used the discovery process in this case to obtain
   information in an unrelated case.
            Second, the Garnishment Action in this Court is entitled to no immunity if it is based on
   misrepresentations. It is black letter law that misrepresentations made to a Court are not
   provided Noerr-Pennington immunity. “The Eleventh Circuit has held that alleged
   misrepresentations to the government agency ‘acting judicially’ in making a decision is [sic] are
   not entitled to Noerr immunity.” Marco Island Cable v. Comcast Cablevision of the S., Inc., No.
   2:04-cv-26-FtM-29DNF, 2006 U.S. Dist. LEXIS 45116, at *30 n.8 (M.D. Fla. July 3, 2006),
   citing St. Joseph's Hosp., Inc. v. Hosp. Corp. of Am., 795 F.2d 948, 955 (11th Cir. 1986); see
   also Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 513, 92 S. Ct. 609, 613 (1972)
   (“There are many other forms of illegal and reprehensible practice which may corrupt the
   administrative or judicial processes and which may result in antitrust violations.
   Misrepresentations, condoned in the political arena, are not immunized when used in the
   adjudicatory process.”). Checkpoint misrepresented to the Court in the Garnishment Action that
   All-Tag owed the entire cost of the bond, even though another defendant, Sensormatic, had
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   already tendered half the money. Checkpoint did not disclose that tender to the Court, nor did it
   disclose that it was collaborating with Sensormatic, as both were pursuing redundant recoveries
   against All-Tag. The undisclosed coordination is just another example of Checkpoint’s
   anticompetitive antics—this time, to disrupt All-Tag’s commercial relations by freezing funds in
   its bank accounts.
   III.     ALL-TAG’S DISCOVERY CHALLENGE IS NOT UNTIMELY
            Checkpoint’s repeated use of Local Rule 26.1 as a shield to avoid discovery has already
   failed once, and should fail here. See May 6, 2019 Hearing Transcript, D.E. 133, at page 38 (“If
   the parties are still continuing to try to work things out and conferring, to me it makes sense to
   allow parties to confer and try to work it out and then if you come to a stalemate, then the idea is
   that a motion should be filed within 30 days so that it's not a last minute thing with the Court.”).
   Checkpoint omits the point that the parties had been conferring prior to All-Tag’s filing of its
   motion, and resolved disputes to two Interrogatory answers without needing Court intervention.
   All-Tag filed its motion just over a week after the parties’ meet-and-confer.
   IV.      CHECKPOINT HAS NOT FULLY ANSWERED ALL-TAG’S
            INTERROGATORIES

            Checkpoint has not met its burden to show why it should not be required to fully respond
   to Interrogatory Nos. 6, 9, 7, and 11. It does not state why the discovery “is of such marginal
   relevance that the potential harm occasioned by discovery would far outweigh the ordinary
   presumption in favor of broad disclosure.’” Stolfat v. Equifax Info. Servs., LLC, No. 19-80428-
   CV, 2019 U.S. Dist. LEXIS. It does not, because it can’t. The discovery is relevant; Checkpoint
   simply doesn’t want to answer it, and believes All-Tag should have subpoenaed third parties (for
   information Checkpoint does not deny it has — about its competitors (for Interrogatory Nos. 6,
   9, and 11) or about its documents (for Interrogatory No. 7). All-Tag is asking for Checkpoint’s
   knowledge, not a third party’s. If Checkpoint does not know the answers, it simply should state
   as such.
   V.       CONCLUSION
            Checkpoint’s evasion of simple discovery tasks and attempts to run out the clock should
   not be tolerated. Discovery is still ongoing, and additional Interrogatories are still pending. The
   use of the September 18, 2019 discovery cut-off as yet another discovery shield will simply
   result in further costs to All-Tag and continued need for intervention.

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   Dated: September 12, 2019         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on this 12th day of September 2019, a true and correct copy of the

   foregoing was served upon the following counsel of record for Defendant via CM/ECF:

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